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                           UNITED STATESDISTRICTCOURT
                           EASTERNDISTRICTOF LOUISIANA

                                     -------x
THAD TATUM
an individual,                                    CASENO.:

             Plaintiff,
                                                  Judge:
vs.

    REALTY CO.,INC.
JLTNG
                                                  Magistrate:
a LouisianaCorPoration,

              Defendant.


                                        COMPLAINT

       plaintiff, THAD TATUM, by and through his undersignedcounsel,hereby files this

                                                                 for declaratoryand
complaint and suesJUNG REALTY CO., INC., a Louisianacorporation,
                                                                         DisabilitiesAct, 42
 inj'nctive relief, attorneys'fees,and costspursuantto the Americanswith

                    andalleges:
 U.S.C.$ 12181et s€Q.t

                              JURISDICTION AND PARTIES

 1.     This is an actionfor declaratoryandinjunctiverelief pursuantto Title III of the Americans
                                                              referredto asthe"ADA"). This
        With DisabilitiesAct,42 U.S.C.S 1218l etseq.(hereinafter

        Courtis vestedwith originaljurisdictionpursuantto 28 U.S.C.S$ 1331and 1343'

 2.                                       to 28 U.S'C'$1391(b)'
        Venueis properin this Courtpursuant

 3.     plaintiff, THAD TATUM, (hereinafterreferredto as"MR. TATUM" oT"PLAINTIFF")' is
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        a residentof OrleansParish,Louisiana.

4.      MR. TATUM is a qualifiedindividualwith a disabilrtyunderthe ADA. MR. TATUM is

        afflictedwith parapalegia.

5.                                                  impairedin severalmajorlife activitiesand
        Dueto hisdisability,PLAINTIFFis substantially

        requiresa wheelchairfor mobility.

6.      Uponinformationandbelief,Defendant,is a Louisianacorporation(hereinafterreferredto

        as..DEFENDANT"). DEFENDANTis the owner,lessee,lessorand/oroperatorof thereal

                                whichis thesubjectofthis action,to wit: Popeye'sRestaurant,
        propertiesandimprovements

        generallylocated at 3100 S. Carrollton Avenue, New Orleans,LA 701I 8.             The


        DEFENDANTis obligatedto complywith the ADA.

7.      All eventsgiving rise to this lawsuitoccurredin the EasternDistrict of Louisiana,Orleans

         Parish,Louisiana.


                      CqUNT I - VIOLATION OF TITLE III OF THE
                        AMERICANS WITH DISABILITIES ACT

 8.                                            I - 7 asif theywereexpresslyrestatedherein.
         pLAINTIFF reallegesandreaversParagraphs

 g.                                                 subjectto the ADA, generallylocatedat:
         ThePropertyis a placeof public accommodation,

                                          LA 70118.
                               New Orleans,
         3100S. CarolltonAvenueo

 10.      MR. TATUM has visited the Properfyand plansto visit the Properfyagainin the near

         future.

 I l.    Dgring his visit, MR. TATUM experiencedseriousdifficulty accessingthe goodsand

                                                                              in paragraphl4 of
         utilizing the servicesthereindueto thearchitecturalba:riersasdiscussed
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      this ComPlaint.
                                                         but continuesto experienceserious
t2.     MR. TATUM continuesto desireto visit the Property,

                                             in paragraph14which still exist.
        difficurty dueto the barriersdiscussed
                                                        to utilize the goodsandservicesin the
13.     MR. TATUM intendsto andwill visit the Property
                                                             to accesswhich arethe subjectsof
        future,but fearsthathe will encounterthe samebarriers

        this action.
                                                                     36'302etseq'and
14.                                       $ 12181et seq.and28C.F.R.$
        DEFENDANTis in violationof 4LU.S.C.
                                                       not limited to the following   violations
         is discriminatingagainstPLAINTIFF due to, but
                                                           which hinderedher access:
         which PLAINTIFF personallyobservedand/orencountered

                A.TheaccessibleparkingSpacesareimproperlydispersedandmarked;

                B.                        disabledusespacesareimproperlyposted;
                       The signsdesignating
                                                                     width and do not have
                c.      The disabledparking spacesare not the proper

                        appropriateaccessaisles;
                                                                              to thefasility;
                                                     routefrom theparkingareuls
                D.      Thereis no compliantaccessible

                 E.                                  routefrom the streetto the facility;
                        Thereis no compliantaccessible
                                                                             havetheproper
                 F.     Thereaxerampsatthefacility thatdonothavelevellandings,

                        surfacingandcontainexcessiveslopes;and

                 H.     The restroomsin the facility arenon-compliant'

                                                        againstPLAINTIFF, and others
  15.     Furthermore,DEFENDANT sontinuesto discriminate
                                                                       in policies,practicesor
          simitarly situated,by failing to make reasonablemodifications
                                                            provide PLAINTIFF an equal
          procedures,when such modificationsare necessaryto
                                                             goods,services,facilities,   privileges,
           opportunityto participatein, or benefit from, the
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                                                    offers to the generalpublic; andby
       advantages,and accommodationswhich DEFENDANT

                                                       to ensurethat no individual with a disability
       failing to take suchefforts that may be necessary

                                                    otherwise treated differently than other
       is excluded, denied services, segregated, or

                                                     aids and services'
       individuals becauseof the absenceof auxiliary
                                                         still exist and have not beenremediedor
16.    To date, all barriers to accessand ADA violations

                                                        with the provisions of the ADA' even
       arteredin such a way as to effectuate compliance

       thoughremovalis readilyachievable'
                                                       located on the Property is readily
17.     Removal of the discriminatorybarriers to access
                                                            and would not placean undue
        achievable,reasonablyfeasible,and easilyaccomplished,

        burdenon DEFENDANT'
                                                             would providePLAINTIFF an
 Lg.    Removalof the bariers to acsesslocatedon the Properfy
                                                             goods,services'andaccommodations
        equalopportunityto participatein, or benefitfrom,the

        which DEFENDANT offersto the generalpublic'
                                                          the Property,PLAINTIFF additionally
 20.     Independentof his intent to return as a patronto
                                                          the barriersto accessstatedherein
         intendsto returnasan ADA testerto determinewhether

         havebeenremedied.
                                                              counsel for the filing and
 21.     PLAINTIFF has been obligatedto retain the undersigned
                                                                his        reasonableattorneys'fees'
         prosecutionof this action. PLAINTIFF is entitledto have

                        paidby DEFENDANT,pursuantto 42 U'S'C' $ 12205'
              andexpenses
         costso
                                                   DEFENDANT, andrequeststhe
          WHEREFORE,PLAINTIFF demandsjudgmentagainst

 following injunctiveanddeclaratoryrelief:
                                                                   leasedand/or operatedby
          A.      That this Court Declare that the Property owned,
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     DEFENDANTis in violationof the ADA;
                                                           the facilrtyto make
B.   Thatthis Court enteran OrderdirectingDEFENDANTto alter

                 to anduseableby individualswith disabilitiesto thefull extentrequired
     it accessible

     by Title III of the ADA;
                                                           andneutralizeits
C.   Thatthis CourtenteranOrderdirectingDEFENDANTto evaluate

                                    towardspersonswith disabilitiesfor a reasonable
     policies,practices,andprocedures

                                         andcompletionof correctiveprocedures;
     amountof time, allowingimplementation

D.                                attorneys'fees,costs(includingexpertfees),and
     Thatthis Court awardreasonable

     otherexpensesof suit,to PLAINTIFF; and
                                                                         just and
                                                                 necessary,
E.    That this Court awardsuchotherandfirnher relief as it deems

      proper.

                                          RespectfullySubmitted,

                                          THE BIZER LAW FIRM
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